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                                             ORDERED.


         Dated: January 22, 2018




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
                                     www.flmb.uscourts.gov

In re:

Mark S. Chambers and                                    Case No.: 3:10-bk-03417-PMG
Virginia Chambers,                                      Chapter 7

               Debtors.
                                         /


                     ORDER GRANTING MOTION TO REOPEN CASE
                   AND DIRECTING THE APPOINTMENT OF A TRUSTEE

          THIS CASE is before the Court on the United States Trustee’s Motion to Reopen Case

and for the Appointment of a Trustee (“Motion”) (Doc. 56) filed pursuant to 11 U.S.C.

§ 350(b) based on the discovery of potential assets that may be available for distribution to

creditors.

Accordingly, it is

          ORDERED:

         1. The Motion is granted and this case is reopened.

         2. The United States Trustee is directed to appoint a Chapter 7 Trustee to administer this

case.
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     3. The Court will defer payment of the reopening fee pending discovery of additional

assets. The Chapter 7 Trustee shall pay the filing fee from the recovery of any additional assets.

If the trustee discovers no additional assets, the reopening fee shall be waived.

                                          #      #       #

Copies to (Service by BNC): All creditors and parties in interest.




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